IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

BUSINESS sYsTEMs ENGINEERING,
INc.,

Piaintiff,
NO. 04 c 8254

INTERNATIONAL BUSINESS MACHINES

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v. )
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coRPoRATIoN (“IBM"), §

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Defendant.

MEMORANDUM OPINION AND ORDER

Plaintiff Business Systems Engineering, Inc. (BSE) sues
defendant International Business Machines Corporation (IBM) for
breach of contract and commission of related business torts. The
case was filed in the Circuit Court of Cook County, Illinois and
removed to this court on grounds of diversity of citizenship. BSE
is a Delaware corporation with its principal place of business in
Chicago, Illinois, and IBM is a New York corporation with its
principal place of business in Armonk, New York. Jurisdiction is
based on 28 U.S.C. § 1332. The complaint pleads four claims:
breach of contract, tortious interference with contractual
relationship, tortious interference with business relations, and
tortious interference with a pmospective economic opportunity.
Pursuant to Rule lZ(b)(€), Fed. R. Civ. P., IBM moves to dismiss
the complaint in its entirety for failure to state a claim upon

which relief can be qranted. For the reasons stated below, l

dismiss all four counts of the complaint for legal insufficiency,
but grant BSE leave to replead.

In considering a motion to dismiss for failure to state a
claim, l must take all well pleaded allegations of the complaint as
true and construe any ambiguities in the complaint in favor of the
plaintiff. Thompson v. Ill. Dep’t. of Prof’l Regulation, 300 F.3d
ll?O, ll?3 (Tth Cir. 2002). In general, under the notice pleading
requirements of the Federal Rules a plaintiff is not required to
allege facts but may plead conclusions. Shah v. Inter-Continental
Hotel Chicago Operating Corp., 314 F.3d 238,282 (7th Cir. 2000).
However, a plaintiff who pleads facts that undermine the
allegations of his complaint can plead himself out of court.
Bennett v. Schmidt, 153 F.3d 5l6, 519 (7th Cir. 1998). A copy of
any written instrument which is an exhibit to the complaint is
considered to be part of the pleadings. Thompson, supra, 300 F.3d
at 753.

For its breach of contract claim, BSE alleges as follows. BSE
is both a disadvantaged business entity (DBE) and a 1ninority
business entity (MBE).1 IBM had a written systems integration
services agreement (ITSA) with the Chicago Transit Authority

(CTA)for a financial systems upgrade project (the Link IT ERP

 

1 The Complaint does not allege that BSE’s status as a DSE or

MBE has any legal significance with respect to BSE's claims,
although it is clear that CTA made it a condition of the ITSA that
a certain portion of the work be done by DBE’s.

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Project). The iteration of the ITSA appended to the complaint is
unsigned. On or about November 14, 2001, IBM and BSE entered into
an $8,560,000 sub-contract under which BSE was to provide certain
of the work and services contracted for by IBM with CTA. That sub-
contract was subsequently renegotiated as evidenced by a second
sub-contract that reduced BSE's participation in the CTA Project
from $8,560,000 to $3,600,000. IBM breached the agreement with BSE
by, among other things, failing to provide BSE with Sufficient
billable hours so that BSE could meet the $3.6 million target,
delaying the deployment of technicians to be supplied by BSE (BSE
Resources), refusing to use qualified BSE Resources, and compelling
BSE to use other third party vendors who were BSE's competitors at
greater cost to BSE, thus reducing BSE's profit and ability to
operate.

I look first to determine whether the complaint, as
supplemented by its exhibits, establishes the existence of a
contract between BSE and IBM and, if so, the terms of the contract.
As noted, BSE is not a party to the ITSA. (Exhibit l to complaint).
The parties thereto are CTA and IBM. Each of the documents referred
to by BSE (Exhibits 2 and 3 to the complaint) as constituting
contracts between it and IBM is specifically entitled “Letter of
Intent from DBE to IBM to Perform as Subcontractor, Supplier and/or
Consultant.” Each is expressly a proposal (rather than a

contract)to serve in the capacities mentioned, neither is signed on

behalf of IBM, but each contains a form affidavit (unexecuted) for
signature by IBM attesting to the fact that a formal contract will
be entered into between IBM and the DBE firms for work as indicated
by “this Schedule D and accompanying Schedules, and will enter into
such agreements within five (5) business days after receipt of the
contract executed by the Chicago Transit Authority.” One such
letter of intent states that the “Sub (or Grand) Total” is
$8,560,000, the other refers to a total of $3,600,000. The
complaint alleges that the $8,560,000 “contract” between IBM and
BSE was attached to the original ITSA when that document was
entered into in December 2001, and that the scope of the work was
negotiated to the $3,600,000 figure thereafter because of operating
concerns of IBM.
Analysis

Count l. As stated, BSE alleges that Exhibit 3 to the ITSA
obligated IBM to provide $3,600,000 of work to BSE on the Link lT
ERP Project. As IBM points out, by its terms Exhibit 3 does nothing
of the kind, and it would be extremely unlikely in a project of
this size if there were not other documents that spelled out the
obligations of the parties with respect to the scope of the work or
the ability of IBM to diminish that scope for specified reasons.
Still, BSE alleges that it did perform under an agreement with IBM

and that IBM paid BSE $2.2 million for its work.

IBM admits that there were contracts between the parties for
the performance of services by BSE, specifically, a Customer
Solutions Agreement and multiple Statements of Work (SOWs), but
points out that the documents attached to the complaint do not
establish the existence of any such contract. IBM is correct. BSE
is not even a party to the ITSA, and the Letters of lntent are too
vague and incomplete to establish a legally enforceable agreement
by which BSE could hold IBM accountable for the alleged breach.
lndeed, the ITSA specifically provides that it confers no rights on
third persons. The Letters of Intent do not describe the work that
BSE is to perform, the timing of the services, or the timing of
lBM's payments therefor, let alone what other terms and conditions
had been agreed to by the parties.

If documents attached to a complaint and incorporated within
it by reference belie the allegations, the documents control on a
motion to dismiss. Northern Indiana Gun & Outdoor Shows, Inc v.
City of South Bend, 163 F.3d 499, 454~55 (7th Cir. 1998). If BSE
wishes to stay in court on its breach of contract claim it should
either append to its pleading a specific, enforceable document that
unconditionally obligates IBM to provide BSE with $3.6 million of
work or allege any oral understandings that imposed such an
obligation.

Count l is dismissed for failure to state a claim. ln so

holding l do not rely on the documents provided by IBM as Exhibits

l and 2 to its reply memorandum, since to do so would require me to
treat its motion as one for summary judgment.

Count II. This count is a claim for tortious interference
with contract. The elements of that claim under Illinois law are
(l) the existence of a valid and enforceable agreement between the
plaintiff and a third party; (2) the defendant's awareness of the
contract; (3) the defendant’s intentional inducement of the third
party to breach that contract; (4) the third party’s breach; and
(5) damages to the plaintiff as a result of the breach. HPI Health
Care Serv., Inc. v. Mt. Vernon Hosp., Inc., 545 N.E.Zd 672, 676
(Ill. 1989). BSE alleges as follows. During the course of its
work, BSE submitted certain “resources”2 to IBM, one of whom was a
woman named Maureen Jones. BSE gave IBM Ms. Jones’s resume and IBM
interviewed and rejected her but subsequently accepted Ms. Jones
when she was presented by one of BSE's competitors. The facts
pleaded do not support a tortious interference claim. BSE does not
allege that it had a contract with Ms. Jones, and one may even
infer from paragraph ll of the complaint that it did not, since
only upon IBM’s approval would BSE hire a resource.

Counts lll and IV. In Count lll, entitled “BSE’s claims for

Tortious lnterference with Business Relations”, BSE alleges that

 

2 “Resources” are defined in the complaint as information

technologists recruited and interviewed by BSE for presentation to
IBM; if IBM approved the resources, BSE would then hire them to
work on the project and bill IBM for the use of the resources.

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lBM’s conduct interfered with the business relations BSE had with
CTA and with its resources. BSE, however, does not allege anywhere
in the complaint that it had any prior relations with CTA, nor does
it allege what relations, if any, it had with its resources. Count
IV is entitled “Tortious Interference with a Prospective Economic
Advantage or Business Opportunity. In this count, BSE names three
individuals whom it claims were its “resources.” As to one of these
individuals, it alleges that he was first accepted and then
rejected by IBM, “even though his work product was excellent.” As
to the other two individuals, BSE alleges that after having
accepted them, IBM intentionally and improperly utilized them
despite their well qualified background. Essentially, Counts 111
and lV, despite their different rubrics, attempt to allege the same
tort. Whether one calls the conduct interference with business
relations or interference with a prospective economic opportunity,
the elements are the same: a valid business expectancy with a
third party, defendant's knowledge of the expectancy, intentional
interference with the expectancy, and resulting damage. Compare
Anderson v. Vanden Dorpel, 66? N.E.Zd 1296, 1299-1300 (lll.
1996)(intentional interference with prospective economic advantage)
with Alfieri V. CSX Corp., 559 N.E.Zd 166, 173 {Ill. App.
1990){intentional interference with a business relationship).
Since these are not alleged, the motion to dismiss these claims is

granted.

 

The complaint is hereby dismissed. BSE has until August 5,

2005 to file an amended complaint.

ENTER ORDER :

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Elaine E. Bucklo
United States District Judge

 

Dated: July QL), 2005

